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               Exhibit B
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Cc:
E Salgado
Follett Higher Education Group, LLC
3 WESTBROOK CORPORATE CTR STE 200
Westchester, IL 60154

Nathan C Volheim
Sulaiman Law Group, Ltd.
2500 South Highland Avenue, Suite 200
Lombard, IL 60148


Please retain this notice for your records.
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Enclosure with EEOC Notice of Closure and Rights (01/22)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
 (This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
           other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a “Section 83” request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.
To make a FOIA request for your charge file, submit your request online at
https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request
identifying your request as a “FOIA Request” for Charge Number 440-2024-06894 to the
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District Director at Amrith Kaur Aakre, 230 S Dearborn Street , Chicago, IL 60604.

To make a Section 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request" for Charge Number 440-2024-06894 to the District Director at Amrith
Kaur Aakre, 230 S Dearborn Street , Chicago, IL 60604.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.
For more information on submitting FOIA requests, go to
https://www.eeoc.gov/eeoc/foia/index.cfm.
For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.
NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)
The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.
If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at:
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability
If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record of” a disability:
      The limitations from the impairment no longer must be severe or significant for the
       impairment to be considered substantially limiting.
      In addition to activities such as performing manual tasks, walking, seeing, hearing,
       speaking, breathing, learning, thinking, concentrating, reading, bending, and
       communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
       include the operation of major bodily functions, such as: functions of the immune
       system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
       bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
       hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
       individual organ within a body system.
      Only one major life activity need be substantially limited.
      Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
       measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
       are not considered in determining if the impairment substantially limits a major life
       activity.
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      An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
       remission” (e.g., cancer) is a disability if it would be substantially limiting when active.
      An impairment may be substantially limiting even though it lasts or is expected to last
       fewer than six months.

“Regarded as” coverage
An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).
      “Regarded as” coverage under the ADAAA no longer requires that an impairment be
       substantially limiting, or that the employer perceives the impairment to be substantially
       limiting.
         The employer has a defense against a “regarded as” claim only when the impairment at
          issue is objectively both transitory (lasting or expected to last six months or less) and
          minor.
      A person is not able to bring a failure to accommodate claim if the individual is covered
       only under the “regarded as” definition of “disability”.
Note: Although the amended ADA states that the definition of disability “shall be construed
broadly” and “should not demand extensive analysis,” some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For more
information, consult the amended regulations and appendix, as well as explanatory publications,
available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
